Dear Auditor Schweich:
This office received your letter of June 8, 2011, submitting a fiscal note and fiscal note summary prepared under § 116.175, RSMo, for an initiative petition submitted by Anne Adams (version 3). The fiscal note summary that you submitted is as follows:
  The proposal is estimated to result in no direct costs or savings to state and local governmental entities.
Under § 116.175.4, RSMo, we approve the legal content and form of the fiscal note summary. Because our review of the fiscal note summary is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the initiative petition or as the expression of any view regarding the objectives of its proponents.
  Very truly yours,
  _________________ CHRIS KOSTER Attorney General *Page 1 